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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

 ROSY GIRON DE REYES; JOSE
 DAGOBERTO REYES; FELIX ALEXIS
 BOLANOS; RUTH RIVAS; YOVANA
 JALDIN SOLIS; ESTEBAN RUBEN MOYA
 YRAPURA; ROSA ELENA AMAYA; and
 HERBERT DAVID SARAVIA CRUZ,
                                                       Civil Action No. 1:16cv00563-TSE-TCB
                Plaintiffs,

        vs.

 WAPLES MOBILE HOME PARK LIMITED
 PARTNERSHIP; WAPLES PROJECT
 LIMITED PARTNERSHIP; and A.J.
 DWOSKIN & ASSOCIATES, INC.,

                Defendants.


                    SUPPLEMENTAL BRIEFING IN OPPOSITION TO
                  DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        Pursuant to the Court’s April 7, 2020 Order (ECF No. 273, the “Order”) seeking

 supplemental briefing on Defendants Waples Mobile Home Park L.P., Waples Project L.P., and

 AJ Dwoskin and Associates, Inc.’s (together, “Defendants” or “Waples”) Motion for Summary

 Judgment (ECF No. 247, the “Motion”), Plaintiffs Rosy Giron de Reyes, Jose Dagoberto Reyes,

 Felix Alexis Bolanos, Ruth Rivas, Yovana Jaldin Solis, Esteban Ruben Moya Yrapura, Rosa Elena

 Amaya, and Herbert David Saravia Cruz (collectively, “Plaintiffs”) respectfully submit the

 following responses to the Court’s questions set forth therein.

        The Order presents two questions to the parties: (1) “Does this Order identify the correct

 questions [i.e., whether the policy’s disproportionate impact on Latinos is justified because the

 Policy serves a valid interest that could not be served by another practice with a less discriminatory

 effect] on remand?”; and (2) “Are the questions that remain jury issues or questions for the Court
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 to resolve on summary judgment?” Order at 4, 5. As to the first question, the Order correctly

 identifies that only steps two and three of the Inclusive Communities framework remain to be

 decided by the finder of fact; however, Defendants’ burden at step two requires clarification, as it

 is much greater than the Order describes. See infra at Arg. § I. As to the second question, both

 steps two and three must be resolved by a jury because Plaintiffs have raised questions of fact as

 to each step that cannot be resolved by the Court on summary judgment. See infra at Arg. § II.

                                             ARGUMENT

 I.      ONLY STEPS TWO AND THREE SHOULD BE DECIDED ON REMAND

         First, while the Order correctly identifies that only steps two and three of the Inclusive

 Communities framework need be resolved, see Order at 2, Defendants’ burden at step two is much

 more exacting in light of Inclusive Communities’ comparison to Title VII’s business necessity

 standard.

         A.      The Fourth Circuit Found that Plaintiffs Had Made a Prima Facie Case of
                 Disparate Impact1

         The questions on remand are properly limited to steps two and three of the Inclusive

 Communities burden-shifting framework because the Fourth Circuit already held that Plaintiffs

 had satisfied step one by proving a prima facie case of disparate impact. See also Order at 4. After

 deciding that Plaintiffs’ FHA claim survived Defendants’ motion to dismiss under a disparate

 impact theory of liability, the Fourth Circuit went on to find that Plaintiffs had presented “sufficient

 evidence” of disparate impact. Reyes v. Waples Mobile Home Park Ltd. P’ship, 903 F.3d 415, 433



 1
    Because the Fourth Circuit already found that Plaintiffs have satisfied step one of the Inclusive
 Communities burden-shifting framework, the Court should disregard Defendants’ arguments to
 the contrary. See Memorandum in Support of Summary Judgment (ECF No. 250, the
 Memorandum”) at 10-22; Reply in Support of Motion for Summary Judgment (ECF No. 265, the
 “Reply”) at 6-11.

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 (4th Cir. 2018) (“Consequently, because the district court concluded that the FHA claim survived

 the motion to dismiss stage, and because we conclude that Plaintiffs[] submitted sufficient

 evidence of a prima facie case of disparate impact, the district court should have addressed the

 FHA claim under the disparate-impact theory of liability at the motion for summary judgment

 stage.”). The Fourth Circuit went on to hold that, “under these facts, Plaintiffs have satisfied their

 burden under step one of the burden-shifting framework to make a prima facie showing of

 disparate impact. It is for the district court to determine in the first instance whether Plaintiffs

 have satisfied the additional steps in this inquiry and, thus, whether Waples’ Policy requiring

 occupants to provide documentation evincing legal status violated the FHA by disproportionately

 impacting Latinos.” Id. at 433 n.12. The Order correctly recognizes that this language is a

 conclusive instruction that only steps two and three of the Inclusive Communities framework

 remain to be decided on remand. See Order at 3-4.

        B.      The Burden Posed by Step Two of the Inclusive Communities Framework Is
                More Exacting than the Order Describes

        Nevertheless, Plaintiffs respectfully submit that the Order’s description of step two of the

 Inclusive Communities burden-shifting framework requires clarification: the “valid interest”

 served by the Policy, Order at 2, must amount to a “business necessity” for Defendants to satisfy

 their burden. Both the Supreme Court and the Fourth Circuit have made clear that step two is

 “analogous to Title VII’s business necessity standard.” See Tex. Dept. of Housing v. Inclusive

 Communities Project, Inc., 135 S.Ct. 2507, 2522 (2015); Reyes, 903 F.3d. at 424. The business

 necessity standard is “different and more difficult” than merely proving a valid business interest,

 Dkt. No. 56 at 4 (quoting Betsey v. Turtle Creek Assocs., 736 F.2d 983, 988 (4th Cir. 1984)),

 insofar that a business necessity goes to “the essential nature of [Defendants’] business.”

 MacLennan v. Am. Airlines, Inc., 440 F. Supp. 466, 472 (E.D. Va. 1977) (“Nor, to the extent that

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 that defense differs from the [bona fide occupational qualification] defense, can the policy be

 defended as a ‘business necessity.’ As indicated before, there is no reasonable factual basis upon

 which to believe that a change from the existing maternity leave policy of American would

 undermine the essential nature of American’s business—namely, the safe and efficient

 transportation of passengers.”). Thus, in considering step two of the Inclusive Communities

 burden-shifting framework, the Court must not merely ask whether the business interests identified

 by Defendants are “valid,” but rather whether they are true business necessities.

 II.     THE REMAINING QUESTIONS MUST BE RESOLVED BY A JURY

         Second, and particularly in light of the hurdle that step two presents, both steps two and

 three of the Inclusive Communities burden-shifting framework present continuing issues of fact

 that must be resolved by a jury, rather than the Court.

         As to step two, disputes of fact remain as to whether the Policy was created to serve a

 business necessity, or whether Defendants’ purported business interests were merely post hoc

 justifications for the Policy. 2 Specifically:

                There is a dispute of fact as to whether it is a business necessity to collect a Social
                 Security card or “an original passport, original U.S. visa, and original
                 arrival/departure form (I-94)” to verify identity, as Defendants have admitted that
                 they do not use Social Security cards for this purpose, and foreign passports and/or
                 ITINs can be used to verify identity as well. See Opposition to Motion for
                 Summary Judgment (ECF No. 260, the “Opposition”) at 22-24.

                There is a dispute of fact as to whether it is a business necessity to collect a Social
                 Security card or “an original passport, original U.S. visa, and original
                 arrival/departure form (I-94)” to run credit checks, because both Social Security
                 numbers and ITINs can be used to run consumer reports on lessees, and Defendants
                 do not even run credit checks on mere occupants. See id. at 24-25.



 2
   Indeed, Defendants have never argued that the purported business interests served by the
 Policy are “necessities” as required by Inclusive Communities. See generally Mem. at 22-27;
 Reply at 11-15.

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               There is a dispute of fact as to whether it is a business necessity to collect a Social
                Security card or “an original passport, original U.S. visa, and original
                arrival/departure form (I-94)” to run credit criminal background checks, because
                Defendants and their agent, Yardi Resident Screening, admit that Social Security
                Numbers are not required to run criminal background checks. See id. at 25-26.

               There is a dispute of fact as to whether it is a business necessity to collect a Social
                Security card or “an original passport, original U.S. visa, and original
                arrival/departure form (I-94)” to allay lease underwriting or eviction concerns, as
                these documents do not prove, inter alia, that lessees will be able to make their
                monthly rent payments;3 indeed, Plaintiffs never missed a monthly rent payment
                while they resided at the Park. See id. at 26-28.

               There is a dispute of fact as to whether it is a business necessity to use a Social
                Security card or “an original passport, original U.S. visa, and original
                arrival/departure form (I-94)” to avoid liability under the ICRA’s anti-harboring
                provision because merely renting to undocumented immigrants, without more, is
                insufficient to constitute a violation of this provision. See id. at 28-29.

               There is a dispute of fact as to whether the purported business interests that
                Defendants have set forth in their briefing motivated the Policy in the first place, or
                whether they were in fact post hoc justifications to avoid liability in this action. See
                id. at 21-22.

 For these reasons, the resolution of whether Defendants have met their burden on step two of the

 Inclusive Communities burden-shifting framework should be left to a jury, rather than the Court

 on summary judgment.

        That there are material issues of fact as to step three of the Inclusive Communities burden

 shifting framework—which the Court/jury need only reach if it finds that Defendants have satisfied

 their burden on step two—is evident from the fact that the Policy as enforced by Defendants until

 2015 is in itself a less discriminatory alternative that satisfies Defendants’ business interests. As

 Plaintiffs have previously argued, see ECF No. 260 at 29-30, collecting proof of legal presence

 from all leaseholders, and merely collecting proof of identity from all occupants, would reduce


 3
    To the extent that Defendants rely on the testimony of George Caruso on this point, Plaintiffs
 have raised countless issues with his testimony that they are entitled to test on cross-examination
 at trial. See Opp. at 27.

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 the discriminatory effect on Latinos by allowing plaintiffs and others who were evicted from the

 Park due to their co-occupants’ lack of documentation to continue living there so long as they

 could continue to satisfy the requirements of their leases. By comparison, Defendants have not

 adduced sufficient evidence at the summary judgment stage to show that this solution is not viable.

 It therefore is appropriate for the jury, not the Court, to resolve this question.

                                            CONCLUSION

         For the foregoing reasons, and those set forth in Plaintiffs’ opposition brief, see generally

 Opp., Plaintiffs respectfully request that the Court deny Defendants’ Motion for Summary

 Judgment in its entirety.




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                                         Certificate of Service

 I hereby certify that on this 30th day of April, 2020, I caused the foregoing to be filed electronically
 with the Clerk of the Court using CM/ECF, which will then send a notification of such filing to all
 counsel of record.



 _________________//s//__________________               Dated: April 30, 2020
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